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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                       Plaintiff,

       v.                                              No. 1:19-cv-01974-TNM

UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,

                       Defendants,

DONALD J. TRUMP, et al.,

                       Defendant-Intervenors.


                                    MOTION TO LIFT STAY

       On March 20, 2020, the Court stayed this case pending further order of the Court. It did

so principally in light of the D.C. Circuit’s decision to rehear Committee on the Judiciary of the

U.S. House of Representatives v. McGahn, 951 F.3d 510 (D.C. Cir. 2020) (No. 19-5331), en

banc. See Order at 5 (Mar. 20, 2020), ECF No. 91 (“[T]he Court will await further proceedings

in McGahn before it acts on either the subpoena-enforcement claim or the § 6103(f) claims.”).

Now that the en banc D.C. Circuit has ruled in McGahn, rejecting one of the principal

jurisdictional objections raised by Defendants and Defendant-Intervenors1 here, Plaintiff

Committee on Ways and Means (Committee) respectfully requests that this Court lift the stay2

and direct the parties to expeditiously file renewed cross-motions for summary judgment to

       1
       Hereafter we refer to Defendants and Defendant-Intervenors collectively as
“Defendants.”
       2
         Pursuant to Local Rule 7(m), Plaintiff conferred with Defendants and Defendant-
Intervenors, who indicated they oppose this motion.
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include any additional arguments Defendants may wish to make on the threshold issues in light

of McGahn. Defendants’ motion to dismiss has been fully briefed since September 30, 2019,

and the Court heard argument on the motion on November 6, 2019. The House’s current term

expires on January 3, 2021. Failing to move this case forward will mean that the clock will run

out on the Congressional session.

I.     Course of Proceedings

       The Committee first sought tax returns and return information on April 3, 2019, pursuant

to 26 U.S.C. § 6103(f), which mandates, without qualification, that the Secretary of the Treasury

“shall furnish” the Committee with any tax returns and return information that its Chairman

requests.3 On May 6, 2019, Secretary Steven T. Mnuchin issued his final decision not to provide

the Committee with any of the requested materials.4 Committee Chairman Richard E. Neal

served subpoenas on Secretary Mnuchin and Internal Revenue Service Commissioner Charles P.

Rettig on May 10, 2019.5 Defendants refused to comply. The Committee filed this lawsuit on

July 2, 2019, more than 13 months ago. ECF No. 1.

       The Committee filed motions for summary judgment, consolidated briefing, and

expedited consideration shortly thereafter. See ECF Nos. 29, 30. At Defendants’ urging, the

Court denied the Committee’s summary judgment motion as premature, preferring to have

Defendants file a motion to dismiss first. Minute Order (Aug. 29, 2019); see ECF No. 33.



       3
         See Letter from Hon. Richard E. Neal, Chairman, Comm. on Ways and Means, to Hon.
Charles P. Rettig, Commissioner, IRS (Apr. 3, 2019), ECF No. 1-1.
       4
         See Letter from Steven T. Mnuchin, Secretary, Dep’t of the Treasury, to Hon. Richard
E. Neal, Chairman, Comm. on Ways and Means (May 6, 2019), ECF No. 1-9.
       5
        See Subpoena from Hon. Richard E. Neal, Chairman, Comm. on Ways and Means, to
Steven T. Mnuchin, Secretary, Dep’t of the Treasury (May 10, 2019), ECF No. 1-11; Subpoena
from Hon. Richard E. Neal, Chairman, Comm. on Ways and Means, to Hon. Charles P. Rettig,
Commissioner, IRS (May 10, 2019), ECF No. 1-12.

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Defendants’ motion to dismiss was fully briefed by September 30, 2019, and the Court heard

argument on November 6, 2019.6

       Following argument on Defendants’ motion to dismiss in this case, Judge Brown Jackson

issued an opinion in Committee on the Judiciary of the U.S. House of Representatives v.

McGahn, 415 F. Supp. 3d 148 (D.D.C. 2019), rejecting arguments attacking the House Judiciary

Committee’s standing to obtain judicial enforcement of its subpoena that were nearly identical to

those Defendants advanced with respect to the Committee’s subpoenas in this action. The

McGahn defendants appealed to the D.C. Circuit. In response, on January 14, 2020, this Court

stayed this case pending the D.C. Circuit’s decision in McGahn, indicating that it would consider

lifting the stay if the D.C. Circuit did not rule expeditiously. See Conf. Tr. at 11:9-13 (Jan. 14,

2020), ECF No. 78. When the D.C. Circuit did not promptly decide McGahn, the Committee

moved for this Court to lift the stay on January 28, 2020. See ECF No. 79, at 1. The

Committee’s motion emphasized that the Supreme Court and the D.C. Circuit have repeatedly

admonished district courts to “give[] the most expeditious treatment” to suits impeding

Congress’s access to subpoenaed information, see id. at 4-6 (quoting Eastland v. U.S.

Servicemen’s Fund, 421 U.S. 491, 511 n.17 (1975)), and it noted that the six months that had

elapsed since the Committee filed its complaint had already made this action an outlier, see id. at

6-11. While that motion was pending, a panel of the D.C. Circuit issued an opinion in McGahn,

reversing the district court. This Court then lifted the stay. See Minute Order (Mar. 5, 2020).

       The Court again stayed this action on March 20, 2020, after the D.C. Circuit granted

rehearing en banc in McGahn, indicating that a stay was appropriate until the D.C. Circuit issued



       6
          See ECF No. 59. Before oral argument and in response to the Court’s request, the
parties provided supplemental briefing on the implications of the D.C. Circuit’s decision in
Trump v. Mazars USA, LLP, 940 F.3d 710 (D.C. Cir. 2019). See ECF Nos. 63, 66.

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its final word on the Judiciary Committee’s standing in McGahn. See Order at 5, ECF No. 91.

That final word arrived on August 7, when the en banc D.C. Circuit held that the Judiciary

Committee had standing to seek judicial enforcement of its subpoena, rejecting the very same

arguments Defendants have advanced here. See Comm. on the Judiciary of the U.S. House of

Representatives v. McGahn, — F.3d —, No. 19-5331, 2020 WL 4556761, at *1 (D.C. Cir. Aug.

7, 2020) (en banc).

II.    Reasons to Lift the Stay

       The Court should lift the stay it ordered on March 20 and direct the parties to

expeditiously brief cross-motions for summary judgment, including any additional arguments

Defendants may wish to make on the threshold issues in light of McGahn. It should do so for

two reasons.

       First, the basis for the stay has vanished. The Court put this case on hold to receive

guidance from the full D.C. Circuit’s decision in McGahn. That guidance has been provided,

and it is unequivocal. The en banc opinion in McGahn reaffirms the theories of Article III

standing that the Committee has consistently advanced in this litigation, including the

informational injury the Committee has asserted. See 2020 WL 4556761, at *4-7.

       McGahn confirms that Defendants’ noncompliance with the Committee’s duly issued

subpoenas caused a concrete and particularized injury to the Committee. That injury is concrete

because Defendants’ interference with the Committee’s Article I “power of inquiry—with

process to enforce it,” McGrain v. Daugherty, 273 U.S. 135, 174 (1927), “denied the Committee

something to which it alleges it is entitled by law,” McGahn, 2020 WL 4556761, at *5; see id. at

*4 (“‘[E]ach House has power to secure needed information’ through the subpoena power.”

(quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020))). And that injury is

particularized because the House has “delegated its subpoena authority to its Committees,” so the


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Committee is the “distinctly injured party” and the proper plaintiff to bring this lawsuit. Id. at

*7. As the opinion emphasizes, “[f]or more than forty years this circuit has held that a House of

Congress has standing to pursue a subpoena enforcement lawsuit in federal court.” Id. at *10.

       McGahn also makes clear that the refusal to comply with the Committee’s Section

6103(f) request caused the Committee to suffer a concrete and particularized injury insofar as

that defiance denied the Committee information to which it is entitled by statute. The Supreme

Court has firmly established “the principle that the denial of information to which the plaintiff

claims to be entitled by law establishes a quintessential injury in fact.” Id. at *5. McGahn

squarely rejects Defendants’ attempts to distinguish this principle either because of the

Committee’s status as a legislative body or because “the defendant withholding the information

is another branch of government.” Id. at *6.

       Of course, as this Court noted, “the en banc court may not be the final word” on

McGahn, Order at 7, ECF No. 91, but there is no justification for continuing to stay this action

until all conceivable avenues for appeal in McGahn are exhausted, see Conf. Tr. at 10:4-6, ECF

No. 78 (indicating the Court was “not proposing to stay this matter until the resolution of any

appeals and writs of cert or anything like that for the McGahn case”). Nor is there reason to

think the Supreme Court would reach a different result, even if certiorari were sought and

granted. The en banc opinion in McGahn draws extensively from the Supreme Court’s recent

decision in Mazars, 140 S. Ct. 2019, which emphasizes that the House’s power of inquiry is

essential to the effective functioning of Congress. Mazars engaged fully with the same

separation-of-powers arguments that Defendants erroneously contend should override settled

standing doctrines to block the Committee’s suit, and McGahn carefully explains why those

arguments are unavailing in light of Mazars. And though the en banc court remanded to the




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panel for consideration of other threshold issues and the merits, McGahn, 2020 WL 4556761, at

*15, McGahn involved only a subpoena-enforcement claim, whereas seven of the eight claims in

this case seek to vindicate the Committee’s statutory entitlement to the information it seeks under

Section 6103(f).

       Second, unless the Court lifts the stay, it may become impossible for the Committee to

discharge its constitutional obligations. The 116th Congress ends immediately before noon on

January 3, 2021, and the Committee’s ability to fulfill its legislative and oversight objectives

diminishes daily. Further delay impairs the Committee’s ability to obtain and review the tax

returns and return information it has sought; evaluate whether the Internal Revenue Service is

fairly and effectively administering the mandatory Presidential audit program; determine whether

legislation is required to strengthen that program or make other changes to the federal tax laws;

propose legislation and amendments; and shepherd that legislation through the bicameral

process. Defendants have made clear throughout these proceedings that they hope to obstruct the

Committee’s inquiries through delay. This Court should not assist Defendants in that endeavor.

The Court has repeatedly pledged that it wants to take the most expeditious path to resolution of

this matter. Lifting the stay and moving directly to motions for summary judgment would help

make good on that pledge.

                                                     Respectfully submitted,

                                                     /s/ Douglas N. Letter
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August 14, 2020




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